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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 FRIDA KAHLO CORPORATION,

          Plaintiff,                                         Case No.: 1:19-cv-06386

 v.                                                          Judge Charles P. Kocoras

 THE PARTNERSHIPS AND UNINCORPORATED                         Magistrate Judge Sidney I. Schenkier
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.

                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                    DEFENDANT
                 1011                                     yeel art


DATED: November 15, 2019                                      Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
                                                      Keith Vogt, Ltd.
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                                                      ATTORNEY FOR PLAINTIFF




                                 CERTIFICATE OF SERVICE
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       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on November 15, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
